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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

                v.                                                         REPORT AND
                                                                           RECOMMENDATION
                                                                           15-CR-142-EAW-MJR
JACK WOOD,

                         Defendant.


                                            INTRODUCTION

        This case was referred by the presiding judge, the Honorable Elizabeth A. Wolford,

to this Court, pursuant to 28 U.S.C. §636(b)(1), to supervise pretrial proceedings and to

make a recommendation as to all suppression motions. (Dkt. No. 436). Before the Court

is defendant Jack Wood’s (“defendant” or “Wood”) motion to suppress evidence seized

from his home, pursuant to a search warrant, on August 26, 2015. (Dkt. No. 553). For the

following reasons, it is recommended that the Court deny defendant’s motion to suppress

evidence.1

                            RELEVANT FACTS AND BACKGROUND

        On August 12, 2015, the Honorable H. Kenneth Schroeder, Jr. signed a search

warrant for defendant’s residence at 2717 California Road, Delevan, New York. The

warrant application was supported by an affidavit from Andrew Abramowitz, a Special

Agent with the Federal Bureau of Investigation (“FBI”). The affidavit provided information


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           The Supreme Court has held that a defendant challenging a search warrant is entitled to an
evidentiary hearing if they make a substantial preliminary showing that: (1) the warrant affidavit contained
a false statement; (2) the false statement was included intentionally or recklessly; and (3) the false
statement was integral to the probable cause finding. See Franks v. Delaware, 438 U.S. 154, 155-56
(1978). Because no such showing has been made by defendant here, the Court did not conduct an
evidentiary hearing.
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that defendant’s residence had been used as a temporary clubhouse by defendant and

other members of the Kingsmen Motorcycle Club (“KMC”), that illegal activity had taken

place there, and that evidence of crimes was likely to be found there. The warrant

application also sought permission for the search of six other properties alleged to have

been used as clubhouses by the KMC. A search of 2717 California Road was conducted

on August 26, 2015, and resulted in the recovery of marijuana, a Sears Model M-300, 12-

gauge, semi-automatic shotgun, and a Marlin Model 336W, .30-.30 caliber rifle. Officers

also seized computers, telephone records, and other personal items from the residence.

       On March 16, 2016, a second superseding indictment (the “Indictment”) was filed

charging defendant and fifteen other members of the KMC with various crimes including

racketeering conspiracy, drug trafficking, firearms offenses, Hobbs Act robbery, assault,

perjury, obstruction of justice, attempted murder in aid of racketeering and murder in aid

of racketeering.    (Dkt. No. 33).    The Indictment alleges, inter alia, that defendants

distributed cocaine, marijuana, and other controlled substances, maintained various

premises for drug distribution, sold untaxed cigarettes for a profit, and possessed firearms

and ammunition for unlawful purposes. With respect to the racketeering conspiracy, the

Indictment alleges that purposes of the enterprise included the distribution of controlled

substances as well as maintaining premises for the use and distribution of controlled

substances, the sale of firearms, the sale of cigarettes and alcohol, the promotion of

prostitution and other criminal activities. It is alleged that another purpose of the enterprise

was to protect and preserve the KMC’s power through violence, threats of violence,

intimidation, assaults and murder.



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        Wood is charged in Count 1 (racketeering conspiracy), Count 2 (possession of

firearms in furtherance of crime of violence), Count 31 (user of controlled substance in

possession of firearms), Count 32 (using and maintaining premises for drug dealing),

Count 33 (possession of firearms in furtherance of a drug trafficking crime), Count 45

(using and maintaining premises for drug dealing), and Count 46 (possession of firearms

in furtherance of drug trafficking crime). The conduct set forth in Count 1, Count 2, Count

45, and Count 46 is alleged to have begun in or around 2006 and continued through

March16, 2016. The conduct charged in Count 31 is alleged to have occurred on August

26, 2015 and the conduct charged in Counts 32 and 33 is alleged to have occurred

between 2013 and August 26, 2015. The premises alleged to have been used for drug

dealing in Count 32 is 2717 California Road, and the guns recovered there during the

August 2015 search are the subject of Count 31.

        Defendant now moves to suppress all evidence seized from 2717 California Road

on the basis that the search warrant was not supported by probable cause because the

information contained therein was misleading and stale.2

                                               DISCUSSION

        In order to issue a search warrant for a property, it is the duty of a neutral and

detached magistrate to determine there is probable cause to believe that: (1) a crime has


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            Agent Abramowitz’s affidavit in support of the warrant application was sealed by Magistrate
Judge Schroeder at the time he signed the warrant. (Dkt. No. 15-M-91) Wood initially requested a copy
of the affidavit in his omnibus motions in December of 2016. The Government opposed the request on
the basis that defendant had not established standing to challenge the search. On February 3, 2017,
Wood filed an affidavit stating that he resided at 2717 California Road, with his wife, at the time of the
search. The Government then provided defendant with a redacted affidavit, which presumably removed
all references to the identity of confidential sources as well as information relevant to the search of the six
other premises. For purposes of determining the instant motion to suppress, the Court has reviewed the
unredacted affidavit in its entirety.

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been committed; and (2) evidence of a crime will be found in the place to be searched.

United States v. Travisano, 724 F.2d 341, 345 (2d Cir. 1983). When considering whether

to grant an application for a search warrant, “[t]he task of the issuing magistrate is simply

to make a practical, common-sense decision whether, given all the circumstances set forth

in the affidavit...there is a fair probability that contraband or evidence of a crime will be

found in a particular place.” Illinois v. Gates, 462 U.S. 213, 236 (1983) (affidavits in

support of search warrants should not be judged in a hypertechnical manner). Likewise,

establishing a connection between the alleged crimes and the premises to be searched

“does not require direct evidence and may be based on reasonable inference from the

facts presented based on common sense and experience.” United States v. Singh, 390

F.3d 168, 182 (2d Cir. 2004).

       A magistrate’s issuance of a search warrant is entitled to deference and the duty of

a reviewing court is only to ensure that there was a substantial basis for concluding that

probable cause existed. See Travisano, 724 F.2d at 345 (“Once a magistrate has made

a determination on the issue of probable cause, our analysis shifts to the function of the

reviewing court...(i)ts after-the-fact examination of the papers is not to be a de novo review”

and “doubts should be resolved in favor of upholding the warrant”).

       Here, Agent Abramowitz’s 52-page, 134-paragraph affidavit details the FBI’s

extensive investigation of the KMC, which began after the September 6, 2014 murders of

Paul Maue and Daniel Szymanski at the KMC’s North Tonawanda clubhouse. The affidavit

explains the background and organization of the KMC, a motorcycle gang operating

primarily on the East Coast of the United States.          The affidavit sets forth detailed

information accumulated over the course of the investigation indicating that KMC members

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and associates were responsible for drug trafficking, maintaining various premises for drug

distribution and use, possession and use of firearms in furtherance of drug trafficking and

crimes of violence, the sale of untaxed cigarettes, illegal gambling, and various violent acts,

including assaults and murders. The affidavit contains information that these activities

were ongoing and long-term, and alleges specific conduct beginning in 2009 and

continuing through the date of the application. The affidavit also contains corroborating

information from numerous witnesses that drugs were regularly used and distributed from

KMC clubhouses, that members maintained firearms at these locations, and that other

illegal activities occurred there. See United States v. Tussa, 816 F.2d 58, 63 (2d Cir. 1987)

(A probable cause finding may be based wholly on hearsay, and affidavits in support of a

warrant application may contain not only the author’s observations, but also collective

knowledge gleaned from multiple officers.)

       The affidavit alleges that the KMC’s Delevan chapter was “temporarily housed” at

Wood’s residence at 2717 California Road.           The affidavit indicates that a witness

interviewed by the Wyoming County Sheriff’s Office in November 2013 stated that weekly

KMC meetings were being held at Wood’s residence and that almost everyone in

attendance had a gun. The witness also stated that there were four guns under the bar,

two near the tool shed and sawed-off shotguns in the basement. The same witness

reported that the Delevan chapter of the KMC sells marijuana and pills, and that defendant

Wood made weekly trips to Olean to pick up cocaine, which was then available at KMC

meetings at his residence. This information was consistent with information provided by

other witnesses regarding drug distribution and gun possession at the clubhouses by

various KMC members. The affidavit further states that another witness reported that six

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months prior to the search warrant application he saw firearms at 2717 California Road,

including an AR rifle and a double barrel shot gun. The affidavit provides that in June of

2015, two FBI officers serving a subpoena at the residence observed defendant wearing

a KMC patch and saw two long guns in defendant’s garage. SA Abramowitz states that

a review of defendant’s Facebook page reveals defendant posing with guns and other

“firearm-related content.” In addition, the affidavit recounts that in June of 2015, defendant

testified before a grand jury that on August 3, 2013, KMC members took his van without

his permission and participated in a drive-by shooting.

       The information detailed above provided Judge Schroeder with a substantial basis

to determine there was probable cause to believe that crimes had occurred and that

evidence of those crimes would be found at 2717 California Road. The Court rejects

defendant’s argument that the information was misleading because 2717 California Road

was not being used as a clubhouse at the time the warrant was obtained in August of

2015, and that this was not made clear to Judge Schroeder. Indeed, the affidavit

specifically states that KMC meetings were held at 2717 California Road in November of

2013 when the Delevan chapter was temporarily housed there, and no averments are

made that the residence was being used as a clubhouse after 2013. The affidavit

repeatedly makes reference to 2717 California Road as Wood’s residence and refers to

it as a “temporary clubhouse”, while the other premises referenced therein are not

residences and are referred to as “active clubhouses” or “active chapter clubhouses.”

Moreover, since the affidavit sets forth probable cause that evidence of criminality could

be found at 2717 California Road at the time the warrant was signed and executed, it is



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immaterial as to exactly when 2717 California Road stopped being used as a temporary

clubhouse.

       The Court further rejects defendant’s arguments that the information contained in

the affidavit was stale. The two critical factors in determining whether facts supporting a

search warrant are stale are “the age of those facts and the nature of the conduct alleged

to have violated the law.” United States v. Martino, 664 F.2d 860, 867 (2d Cir. 1981).

Further, when facts supporting the warrant “present a picture of continuing conduct or an

ongoing activity...the passage of time between the last described act and the presentation

of the application becomes less significant.” Id. at 867. Indeed, the Second Circuit has

routinely held that “narcotics conspiracies are the very paradigm of the continuing

enterprise for which the courts have relaxed the temporal requirements of non-staleness.”

United States v. Rowell, 903 F.2d 899, 903 (2d Cir. 1990) (“Given the continuous nature

of narcotics conspiracies and [defendant’s] statements to the Florida undercover officer

about his on-going marijuana distribution operation, the approximately 18-month delay

between procuring the informant’s statements and seeking the wiretap warrant did not

render the information stale.) See also Singh, 390 F.3d at 182-83 (information provided

in support of a search warrant that was over a year and a half old was not considered stale

where the individuals painted a picture of continuing criminal conduct and illicit activity and

there was no indication that it was likely to cease in the future). Additionally, “stale”

allegations can be revitalized by additional, current information. United States v. Perry,

643 F.2d 38 (2d Cir. 1981) (three year old allegations in an affidavit supporting warrant

application were freshened and given relevance by proof of related current activity).



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       Here, Agent Abramowitz’s affidavit paints a detailed picture of ongoing criminal

conduct and illegal activity that is akin to a narcotics conspiracy and analogous to the

cases discussed above. The allegations describe a criminal organization, of which Wood

was a member, that engaged in drug trafficking, the maintenance of various premises for

drug use and distribution, unlawful use of firearms, and other illegal activities, over many

years. The affidavit cites information from witnesses that much of this conduct occurred

at KMC clubhouses, and that defendant’s residence at 2717 California Road was used as

temporary clubhouse during part of the relevant time period. Indeed, some of the specific

information about defendant’s drug distribution and maintenance of firearms was from

2013. However, that information must be considered in a common sense manner and in

light of the totality of the affidavit, which describes a large-scale, continuing racketeering

conspiracy, that began many years ago and was still active at the time of the warrant

application. Additionally, there is more current information in the affidavit that refreshes

the information from 2013 and suggests that the firearms which had allegedly been used

for illegal purposes remained in defendant’s home. This information includes the fact that

a witness saw firearms at 2717 California Road six months prior to the warrant application

and the fact that approximately two weeks prior to the application, agents saw Wood

wearing his KMC patch and observed rifles at his home. This information must also be

considered in light of the nature of the crimes charged and the totality of the information

contained in the affidavit. For all of these reasons, the Court finds that the information

supplied in the affidavit was neither misleading nor stale, and that Judge Schroeder had

a substantial basis for finding that probable cause existed to search 2717 California Road.



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       Further, even if the affidavit provided an insufficient basis for the probable cause

determination, which it did not, the Court would still recommend that defendant’s motion

to suppress be denied because the officers had a good faith basis to rely on the search

warrant. The Supreme Court has made clear that the exclusionary rule should not be

applied to evidence obtained by a police officer whose reliance on a search warrant issued

by a neutral magistrate was based on “objective good faith.” United States v. Leon, 468

U.S. 897, 918-23 (1984) (the exclusionary rule “cannot be expected, and should not be

applied, to deter objectively reasonable law enforcement activity”). Specifically, an officer’s

reliance on a search warrant is not deemed to have been in good faith if: (1) the issuing

magistrate was knowingly misled; (2) the issuing magistrate wholly abandoned their judicial

role; (3) the application is so lacking in indicia of probable cause as to render reliance on

it unreasonable; or (4) where the warrant is so facially deficient that reliance on it is

unreasonable. Id. at 923. Here, the record is bereft of any evidence that Judge Schroeder

was knowingly misled or that he abandoned his judicial role. Also, for the myriad of

reasons explained above, it cannot be said that the warrant application was so facially

deficient, or so lacking in probable cause, that the officers’ reliance on it was unreasonable.

See Messerschmidt v. Millender, 565 U.S. 535 (2012) (When evaluating whether an officer

has reasonably relied on a warrant in good faith, “[t]he question...is not whether the

magistrate erred in believing there was sufficient probable cause to support the scope of

the warrant he issued... [but] whether the magistrate so obviously erred that any

reasonable officer would have recognized the error.”)




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                                    CONCLUSION

      For the foregoing reasons, it is recommended that defendant Jack Wood’s motion

to suppress evidence be denied.

      Pursuant to 28 U.S.C. §636(b)(1), it is hereby ORDERED that this Report and

Recommendation be filed with the Clerk of Court.

      Unless otherwise ordered by Judge Wolford, any objections to this Report and

Recommendation must be filed with the Clerk of Court within fourteen days of service of

this Report and Recommendation in accordance with the above statute, Rules 59(b), 45(a),

and 45(c) of the Federal Rules of Criminal Procedure, and Local Rule of Criminal

Procedure 59. Any requests for an extension of this deadline must be made to Judge

Wolford.

      Failure to file objections, or to request an extension of time to file objections,

within fourteen days of service of this Report and Recommendation WAIVES THE

RIGHT TO APPEAL THE DISTRICT COURT’S ORDER. See Small v. Sec’y of Health &

Human Servs., 892 F.2d 15 (2d Cir. 1989).

      The District Court will ordinarily refuse to consider de novo arguments, case law

and/or evidentiary material which could have been, but were not, presented to the

Magistrate Judge in the first instance. See Paterson-Leitch Co. v. Mass. Mun. Wholesale

Elec. Co., 840 F.2d 985, 990-91 (1st Cir. 1988).

      Pursuant to Local Rule of Criminal Procedure 59(c)(2), written objections “shall

specifically identify the portions of the proposed findings and recommendations to which

objection is made and the basis for each objection, and shall be supported by legal



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authority.” Failure to comply with these provisions may result in the District Court’s

refusal to consider the objection.



      SO ORDERED.


      Dated: June 12, 2017
             Buffalo, New York


                                                /s/ Michael J. Roemer
                                                MICHAEL J. ROEMER
                                                United States Magistrate Judge




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